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 7                            UNITED STATES DISTRICT COURT
 8                           SOUTHERN DISTRICT OF CALIFORNIA
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10    KLARA GIANNA GALLUSZ,                               Case No.: 25-CV-885 JLS (BLM)
11                                       Plaintiff,
                                                          ORDER (1) ISSUING
12    v.                                                  ADMINISTRATIVE STAY AND
                                                          (2) REQUIRING DEFENDANT TO
13    LLP MORTGAGE, INC. F/K/A LLP
                                                          RESPOND TO PLAINTIFF’S
      MORTGAGE LTD,
14                                                        MOTION FOR TEMPORARY
                                       Defendant.         RESTRAINING ORDER
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17          Presently before the Court is Plaintiff Klara Gianna Gallusz’s Emergency Ex Parte
18    Application for Temporary Restraining Order (“TRO,” ECF No. 3). Plaintiff seeks
19    immediate relief in the form of a temporary restraining order (“TRO”) enjoining Defendant
20    LLP Mortgage, Inc. f/k/a LLP Mortgage LTD from conducting a non-judicial foreclosure
21    sale of her home, scheduled for April 16, 2025. TRO at 1. Plaintiff indicates she “made a
22    good-faith tender of payment,” “[l]awfully requested verification of authority to foreclose,”
23    has been “denied access to critical evidence,” and now “faces the loss of her home within
24    24 hours.” Id. at 6. Plaintiff further indicates Defendant “removed this matter from state
25    court two business days before a TRO hearing.” Id. at 2.
26                                         BACKGROUND
27          On April 10, 2024, Plaintiff Klara Gianna Gallusz, appearing pro se, filed a
28    Complaint titled “Verified Petition for Declaratory and Injunctive Relief: Bill in Equity Ex

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 1    Parte Hearing for Declaratory Judgment and Injunctive Relief Due to Lack of Article III
 2    Standing” in the Superior Court of California for the County of San Diego. Exhibit A to
 3    Defendant’s Notice of Removal, ECF No. 1-3 (“Compl.”). In her Complaint, Plaintiff
 4    indicates the real property located at 3050 Rue D Orleans, Unit #410, San Diego, California
 5    92110, is “the subject of a threatened non-judicial foreclosure sale scheduled for April 16,
 6    2025, at 10:30 AM, to take place at the entrance of East County Regional Center, 250 E.
 7    Main Street, El Cajon, CA 92020.” Compl. at 3.1 Plaintiff seeks declaratory and injunctive
 8    relief, including “a determination of legal rights, and to prevent irreparable harm from
 9    unlawful foreclosure.” Id. Plaintiff argues Defendant lacks standing to “enforce any rights
10    related to a purported mortgage loan concerning” her.             Id. And Plaintiff contends
11    Defendant failed to “produce the original wet-ink promissory note and has refused to allow
12    inspection or provide a certified copy.” Id. at 5. Further, per Plaintiff, Defendant has
13    “failed to provide complete, valid, and properly recorded chain of assignments of both the
14    Note and the Deed of Trust.” Id. Finally, she requests the Court issue a TRO enjoining
15    the April 16, 2025 foreclosure sale. Id. at 8.
16             Additionally, according to Defendant’s Notice of Removal, Plaintiff served on
17    Defendant a “Telephonic Notice of Ex Parte for Temporary Restraining Order.” See ECF
18    No. 1 at 2; see also Exhibit B to Defendant’s Notice of Removal, ECF No. 1-3 at 23. The
19    Notice indicated that Plaintiff “will appear before the presiding judge at the San Diego
20    Superior Court Central Division Hall of Justice, 330 West Broadway, San Diego, CA
21    92101 in Department #66 on 4/15/2025 at 8:30 AM to file a verified petition with an
22    emergency ex parte application for restraining order to stop an unlawful foreclosure sale
23    set for 4/16/2024 at 10:30 AM.” Id. Late on April 14, 2025, Defendant removed this case
24    to this Court pursuant to 28 U.S.C. § 1441 on the basis of diversity jurisdiction. See ECF
25    No. 1.
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28     Pin citations in this Order refer to the CM/ECF page numbers stamped across the top margin of each
      page.

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 1                                            ANALYSIS
 2          The Court is troubled that Defendant appears to have removed this action to
 3    circumvent Plaintiff’s filing of an application for temporary restraining order in state court
 4    today, regarding a purported Trustee Sale set for tomorrow morning. Moreover, Defendant
 5    has provided no response regarding the merits of any such request for temporary restraining
 6    order, which is also raised in Plaintiff’s underlying Complaint.
 7          The underlying purpose of a TRO is to preserve the status quo and prevent
 8    irreparable harm before a preliminary injunction hearing may be held. Granny Goose
 9    Foods, Inc. v. Brotherhood of Teamsters and Auto Truck Drivers Local No. 70 of Alameda
10    Cnty., 415 U.S. 423, 439 (1974); see also Reno Air Racing Ass’n v. McCord,
11    452 F.3d 1126, 1130–31 (9th Cir. 2006). The standard for a TRO is identical to the
12    standard for a preliminary injunction. See Stuhlbarg Int’l Sales Co. v. John D. Brush &
13    Co., 240 F.3d 832, 839 n.7 (9th Cir. 2001). To obtain either a TRO or a preliminary
14    injunction, the moving party must show: (1) a likelihood of success on the merits; (2) a
15    likelihood of irreparable harm to the moving party in the absence of preliminary relief;
16    (3) that the balance of equities tips in favor of the moving party; and (4) that an injunction
17    is in the public interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).
18          While the court awaits full briefing and argument, it may issue a brief
19    “administrative stay.” United States v. Texas, 144 S. Ct. 797, 798 (2024) (Barrett, J.,
20    concurring). An administrative stay “buys the court time to deliberate” when issues are
21    not “easy to evaluate in haste.” Id. An “[a]dministrative stay[ ] do[es] not typically reflect
22    the court’s consideration of the merits,” but instead “reflects a first-blush judgment about
23    the relative consequences” of the case. Id. Such a stay “freeze[s] legal proceedings until
24    the court can rule on a party's request for expedited relief.” Id. (quoting Rachel Bayefsky,
25    Administrative Stays: Power and Procedure, 97 Notre Dame L. Rev. 1941, 1942 (2022)).
26    Courts have recognized, “[t]he authority for an administrative stay arises from the All Writs
27    Act and a court’s inherent authority to manage its docket.” Nat’l Council of Nonprofits v.
28    Off. of Mgmt. & Budget, No. CV 25-239 (LLA), 2025 WL 314433, at *2 (D.D.C. Jan. 28,

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 1    2025) (citing Order, Texas, No. 24-CV-306, at 2).
 2            Here, given that Defendant appears to have removed this case before Plaintiff, pro
 3    se, could file her application for temporary restraining order in state court, and it is now
 4    the eve of the date by which Plaintiff alleges she will suffer irreparable harm, the Court
 5    determines an administrative stay is appropriate to properly evaluate the merits of
 6    Plaintiff’s Motion, for which the Court requires a response by Defendant.
 7            The Court is mindful of the disruption this stay may cause to Defendant. However,
 8    Defendant had notice that Plaintiff would be seeking emergency relief enjoining an April
 9    16, 2025 foreclosure, yet removed the case to federal court on the evening of April 14,
10    2025. This effectively created an insurmountable obstacle that thwarted any practical
11    possibility for Plaintiff to seek and obtain her requested relief in a careful and deliberative
12    manner. If Defendant has strong arguments that the foreclosure should proceed, it was free
13    to argue as much before the San Diego Superior Court. Removing the case to federal court
14    at the eleventh hour cannot immunize Defendant from defending its course of action.
15                                          CONCLUSION
16            Accordingly, it is hereby ORDERED that an ADMINISTRATIVE STAY is
17    entered in this case. During the pendency of the stay, Defendant SHALL refrain from
18    proceeding with the Trustee Sale scheduled for April 16, 2025. In light of Plaintiff’s pro
19    se status, and the exigent circumstances of this action, Defendant SHALL serve a copy of
20    this Order on Plaintiff and file proof of service with the Court by 5:00 p.m. on April 16,
21    2025.
22            It is further ORDERED Defendant SHALL respond to Plaintiff’s Motion for
23    Temporary Restraining Order (ECF No. 3) by 5:00 p.m. on April 17, 2025. Defendant
24    must serve said response and file proof of service with the Court by such time.
25            Plaintiff MAY file a reply, if any, to Defendant’s response by 5:00 p.m. on April
26    18, 2025.
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 1          Upon completion of the briefing in accordance with the above schedule, unless
 2    otherwise indicated by this Court, the Court shall decide this Motion on the papers without
 3    oral argument pursuant to Civil Local Rule 7.1(d)(1).
 4          IT IS SO ORDERED.
 5    Dated: April 15, 2025
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